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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA




 MELISHA IERENEO-BLOUNT,                     Case No. 2:22-cv-08996-SB-KS
        Plaintiff,
  v.                                         ORDER OF DISMISSAL

 AMAZON.COM, INC. et al.,
        Defendants.


       The parties filed a notice of settlement on April 5, 2023. This action is
therefore dismissed in its entirety without prejudice. For 60 days from the date of
this order, the Court retains jurisdiction to vacate this order and to reopen the
action nunc pro tunc on motion of any party. By operation of this order and
without further court action, the dismissal in this case will convert to a dismissal
with prejudice on the 61st day, absent a timely motion to vacate and reopen. If the
case is reopened, the parties should be prepared for an expedited trial schedule.

       The Court expects the parties to finalize their settlement or else move to
reopen the case for prosecution within the next 60 days as ordered above. Should
the parties file any document that contains a request to extend the deadline for
purposes of completing the settlement, counsel for both parties shall submit at least
seven days before the deadline a declaration with a detailed timeline of all the
efforts made to complete the settlement, and the parties shall be prepared to
appear in court with a client representative to explain why the settlement could not
be completed in the time allowed. IT IS SO ORDERED.


Date: April 5, 2023                          ___________________________
                                                   Stanley Blumenfeld, Jr.
                                                 United States District Judge




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